                         Case 1:24-cv-01261-KES-SAB                 Document 53    Filed 12/10/24   Page 1 of 13


                     1     MICHAEL B. BROWN, Bar No. 179222
                           michael.brown@stoel.com
                     2     THOMAS A. WOODS, Bar No. 210050
                           thomas.woods@stoel.com
                     3     BENJAMIN J. CODOG, Bar No. 307034
                           ben.codog@stoel.com
                     4     MICHELLE J. ROSALES, Bar No. 343519
                           michelle.rosales@stoel.com
                     5     STOEL RIVES LLP
                           500 Capitol Mall, Suite 1600
                     6     Sacramento, CA 95814
                           Telephone: 916.447.0700
                     7     Facsimile: 916.447.4781

                     8     Attorneys for Plaintiff
                           METROPOLITAN LIFE INSURANCE COMPANY
                     9

                    10                                         UNITED STATES DISTRICT COURT

                    11                                         EASTERN DISTRICT OF CALIFORNIA

                    12                                                FRESNO DIVISION
                    13

                    14     METROPOLITAN LIFE INSURANCE                             Case No. 1:24-cv-01261-KES-SAB
                           COMPANY, a New York corporation,
                    15                                                             NOTICE OF MOTION AND
                                                  Plaintiff,                       (UNOPPOSED) MOTION TO
                    16                                                             CONSOLIDATE, FOR
                                    v.                                             ADMINISTRATIVE PURPOSES,
                    17                                                             RECEIVERSHIP CASES;
                                                                                   MEMORANDUM OF POINTS AND
                    18     ACDF, LLC, a California limited liability               AUTHORITIES IN SUPPORT OF
                           company, as successor by merger to 104                  MOTION
                    19     PARTNERS, LLC; WILLOW AVENUE
                           INVESTMENTS, LLC, a California limited                  Hearing:
                    20     liability company; ASHLAN & HAYES                       Date:
                           INVESTMENTS, LLC, a California limited                  Time:
                    21     liability company; GRANTOR FRESNO                       Dept.
                           CLOVIS INVESTMENTS, LLC, a California                   Judge:
                    22     limited liability company; MARICOPA
                           ORCHARDS, LLC, a California limited                     Action Filed:    October 16, 2024
                    23     liability company; FARID ASSEMI, an                     Trial Date:      Not Set
                           individual; FARSHID ASSEMI, an individual;
                    24     DARIUS ASSEMI, an individual; and DOES 1
                           through 100, inclusive,
                    25
                                                  Defendants.
                    26

                    27

                    28
                           MOTION TO CONSOLIDATE FOR
STOEL RIVES LLP                                                              -1-         CASE NO. 1:24-CV-01261- KES-SAB
 ATTORNEYS AT LAW          ADMINISTRATIVE PURPOSES; MPAs
   SACRAMENTO


                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB             Document 53        Filed 12/10/24    Page 2 of 13


                     1                                   NOTICE OF MOTION AND MOTION

                     2     TO THE HONORABLE KIRK E. SHERRIFF, UNITED STATES DISTRICT COURT

                     3     JUDGE, AND ALL PARTIES AND INTERESTED PARTIES AND THEIR ATTORNEYS

                     4     OF RECORD:

                     5              PLEASE TAKE NOTICE THAT Plaintiff Metropolitan Life Insurance Company

                     6     (Plaintiff), by and through their attorneys of record herein, hereby moves for an order, issued on an

                     7     ex parte basis, that the above-entitled action be consolidated for administrative purposes only with

                     8     the related receivership cases listed below that are pending before this Court (the “Receivership

                     9     Cases” or “Receivership Cases”) for the purposes of joint administration:

                    10              1.       Metropolitan Life Ins. Co. v. ACDF, LLC, et al., 1:24-cv-01261 (the proposed “Lead

                    11                       Case”)

                    12              2.       Metropolitan Life Ins. Co. v. FNF Farms, LLC, et al., 1:24-cv-01226

                    13              3.       Metropolitan Life Ins. Co. v. C & A Farms, LLC, et al., 1:24-cv-01230

                    14              4.       Metropolitan Life Ins. Co. v. Maricopa Orchards, LLC, et al., 1:24-cv-01231

                    15              5.       Brighthouse Life Ins. Co. v. Kamm South, LLC, et al., 1:24-cv-01232

                    16              6.       Brighthouse Life Ins. Co. v. Manning Avenue Pistachios, LLC, et al., 1:24-cv-

                    17                       01233

                    18              7.       Brighthouse Life Ins. Co. v. ACDF, LLC, et al., 1:24-cv-01235

                    19              8.       MetLife Real Estate Lending, LLC v. Panoche Pistachios, LLC, et al., 1:24-cv-

                    20                       01241

                    21              Plaintiff moves to consolidate the Receivership Cases for administrative purposes only,

                    22     pursuant to Federal Rule of Civil Procedure 42(a)(3) on the grounds that: (1) the cases involve

                    23     common questions of fact and law; (2) consolidation will promote judicial efficiency and prevent

                    24     duplicative motion practice, filings and avoid inconsistent orders; and (3) consolidation will cause

                    25     no demonstrable prejudice to the parties. Following meet and confer with all responsive counsel,

                    26     this motion is unopposed. (See Declaration of Thomas A. Woods ISO Motion to Consolidate, for

                    27     Administrative Purposes, Related Receivership Cases (“Woods Decl.”), ¶¶ 6-12).

                    28
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                             -2-        CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB            Document 53        Filed 12/10/24      Page 3 of 13


                     1              This motion is based on this Notice of Motion and Motion, the Memorandum of Points and

                     2     Authorities that follow, the Declaration of Phillip Christensen (“Receiver Decl.”), and any other

                     3     pleadings and papers filed in the above-referenced action and Receivership Cases.

                     4              Plaintiff is simultaneously filing an Ex Parte Application to Shorten Time on Notice and

                     5     Hearing for this Motion to Consolidate, for Administrative Purposes, Receivership Cases,

                     6     respectfully requesting that the Court hold a hearing on the motion as soon as possible, 1 so that the

                     7     Receivership Cases may be consolidated allowing Plaintiff to submit a single Motion to Continue

                     8     Receivership for all Receivership Cases, on or by December 16, 2024.

                     9
                           DATED: December 10, 2024                            STOEL RIVES LLP
                    10

                    11
                                                                               By:    /s/ Thomas A. Woods
                    12                                                         MICHAEL B. BROWN, Bar No. 179222
                                                                               michael.brown@stoel.com
                    13                                                         THOMAS A. WOODS, Bar No. 210050
                                                                               thomas.woods@stoel.com
                    14                                                         BENJAMIN J. CODOG, Bar No. 307034
                                                                               ben.codog@stoel.com
                    15                                                         MICHELLE J. ROSALES, Bar No. 343519
                                                                               michelle.rosales@stoel.com
                    16
                                                                               Attorneys for Plaintiff
                    17                                                         METROPOLITAN LIFE INSURANCE
                                                                               COMPANY
                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27     1
                             Plaintiff, however, believes that the nature of the relief sought herein and the fact that the
                    28     Motion is unopposed following meet and confer with the other Parties and interested parties, that
                           this matter may be decided “on the papers.”
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                            -3-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB             Document 53        Filed 12/10/24      Page 4 of 13


                     1                                 MEMORANDUM OF POINTS AND AUTHORITIES

                     2     I.       INTRODUCTION

                     3              Plaintiff Metropolitan Life Insurance Company (“Plaintiff”) requests in the interests of

                     4     comity and judicial economy that the Court consolidate, for administrative purposes only, eight (8)

                     5     related Receivership Cases 2 to avoid unnecessary filings, costs and delay. Each Receivership Case

                     6     involves effectively identical Orders Appointing Receiver and for Preliminary Injunction that make

                     7     necessary or appropriate numerous non-substantive filings of the Parties, along with periodic

                     8     reports and requests of the Parties and the Receiver Phillip Christensen (the “Receiver”).

                     9     Consolidation of the type requested will permit these filings (and related papers) in one case,

                    10     “tagged” to as many related cases as necessary. The alternative, as presently set, is to have up to

                    11     eight sets of the same or substantially similar filings in each Receivership Case. Moreover, the

                    12     relief requested is non-prejudicial to the rights of any Party or Intervenor.

                    13              This is consolidation for administrative, not substantive, purposes. The Rule 42(a)(3) 3

                    14     consolidation will permit consolidation of appropriate matters while all Receivership Cases retain

                    15     their separate and independent character. To the extent there is a “merger,” it is incomplete and

                    16     does not “deprive any party of any substantial rights which he may have possessed had the actions

                    17     proceeded separately.” Hall v. Hall, 138 S. Ct. 1118, 1130 (2018) (quoting 3 J. Moore & J.

                    18     Friedman, Moore’s Federal Practice § 42.01, pp. 3050–3051 (1938)).              The Proposed Order

                    19     associated with this Motion requires that filings for substantive relief be submitted in specific

                    20     Receivership Cases. Plaintiff therefore respectfully requests that the Court approve the requested

                    21     consolidation of the Receivership Cases for administrative purposes only, and hopefully prior to

                    22     the deadline for filing Motions for Continuation of Receivership in the Receivership Cases on

                    23     December 16, 2024.

                    24

                    25

                    26     2
                             Capitalized terms used but not defined herein shall have the same meaning as ascribed to them
                    27     in the Notice.
                           3
                    28       All references to “Rule” are references to the Federal Rules of Civil Procedure unless otherwise
                           specified.
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                             -4-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB             Document 53        Filed 12/10/24      Page 5 of 13


                     1     II.      FACTUAL BACKGROUND

                     2              A.       Appointment of the Receiver Phillip Christensen.

                     3              Beginning with Metropolitan Life Ins. Co. v. ACDF, LLC, et al., 1:24-cv-01261, on

                     4     November 7, 2024 and through December 4, 2024, Plaintiff and separate Plaintiffs MetLife Real

                     5     Estate Lending, LLC and Brighthouse Life Insurance Company in the Receivership Cases caused

                     6     to have entered a common form of order for the appointment of Phillip Christensen as Receiver.

                     7     These orders are herein after referred to as the “Appointment Orders”.

                     8              The Appointment Orders govern the Receiver’s pre-trial management, administration and

                     9     reporting duties concerning real and personal property (“collateral”) owned by various “Maricopa

                    10     Defendants,” which collateral serves as security for the repayment of eight loans made by the

                    11     different Plaintiff lenders to Maricopa Defendants in each case.

                    12              The Appointment Orders provide, inter alia, that the Receiver is awarded exclusive

                    13     possession and control over the collateral, “Receivership Property,” as specifically defined in each

                    14     Appointment Order. As detailed further below, the Receiver’s duties with respect to all

                    15     Receivership Property are identical for each Receivership Case and Appointment Order. The duties

                    16     of the Parties, intervenors, and any interested parties with respect to the administration of the

                    17     Receivership are identical.

                    18              For example, any motion or filings by a party or interested party concerning the continuation

                    19     of the Receiver’s (identical) duties in any Related Action shall be filed in accordance with a briefing

                    20     schedule commencing December 16, 2024. Moreover, it is expected that the Court will schedule

                    21     Receiver Status Conferences in the Receivership Cases, which would be held simultaneously.

                    22     Thus, predicate Status Reports of parties and interested parties concerning all of the Receivership

                    23     Cases would be due the same day, and ostensibly contain the same or substantially similar

                    24     information across each case. 4     Each Appointment Order describes the Receiver’s powers and

                    25

                    26
                           4
                             This is true, although differences between the Appointment Orders are that they are entered on
                    27     behalf of different Plaintiffs, on individual loans secured by different collateral. These are not
                    28     cross-collateralized loans, but, rather, “siloed” loans. (See fn.5, infra.)
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                             -5-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB                 Document 53         Filed 12/10/24       Page 6 of 13


                     1     duties including, inter alia, taking possession, managing, controlling, and collecting Receivership

                     2     Property.

                     3              B.       Receivership Cases.

                     4              In accordance with the Lead Case Appointment Order and similar or identical provisions in

                     5     the orders appointing the Receiver in the other Receivership Cases, the Receiver may employ

                     6     professionals, including counsel, agents, employees, appraisers, guards, clerks, accountants,

                     7     liquidators, auctioneers, management companies, and consultants as necessary to discharge his

                     8     duties pursuant to the Appointment Order. (See, e.g., Appointment Order in Lead Case at ¶ 8). To

                     9     fulfill the Receiver’s duties in the Receivership Cases, the Receiver will seek court approval of

                    10     certain actions and authorization for the Receiver to carry out the Receiver’s duties in the

                    11     Receivership Cases. For example, the Receiver requires the assistance of receivership counsel and

                    12     the Receiver will require additional professionals, whose employment will be the subject of

                    13     separate applications, such as water counsel, accountants, and potentially others. Further, the

                    14     Receiver intends to seek relief relating to the sales of real properties that are the subjects of multiple

                    15     or all of the Receivership Cases.

                    16     III.     LEGAL ARGUMENT
                    17              A.       Standard for Consolidation Under Rule 42(a).

                    18              Rule 42(a) states:

                    19              “If actions before the court involve a common question of law or fact, the court may:

                    20                       (1)       join the hearing or trial any or all matters at issue in the actions;

                    21                       (2)       consolidate the actions; or

                    22                       (3)       issue any other orders to avoid unnecessary cost or delay.”

                    23     Fed. R. Civ. P. 42(a).

                    24              “The district court has broad discretion under this rule to consolidate cases pending in the

                    25     same district.” Investors Research Co. v. U.S. Dist. Ct. for Cent. Dist. of Cal., 877 F.2d 777, 777

                    26     (9th Cir. 1989); Pierce v. Cty. of Orange, 526 F.3d 1190, 1203 (9th Cir. 2008) (“A district court

                    27     generally has ‘broad’ discretion to consolidate actions.”).

                    28              On a motion to consolidate, “the court should initially consider whether the cases to be
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                                  -6-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB             Document 53        Filed 12/10/24     Page 7 of 13


                     1     consolidated involve a common question of law or fact,” and “[i]f there is a common question, the

                     2     court should weigh the interests of judicial convenience in consolidating the cases against the delay,

                     3     confusion, and prejudice that consolidation might cause.” Payne v. Tri-State Careflight, LLC, 327

                     4     F.R.D. 433, 449 (2018) (citations omitted); see Saylor v. Allison, No. 1:21-cv-01062-EPG, 2021

                     5     WL 3021446, at *1 (E.D. Cal. July 16, 2021) (citing Southwest Marine, Inc., v. Triple A. Mach.

                     6     Shop, Inc., 720 F. Supp. 805, 807 (N.D. Cal. 1989)) (stating the same balancing test for the court

                     7     to consider in determining to consolidate the actions). “The purpose of consolidation under Rule

                     8     42(a), where cases share such common questions of law or fact, is to enhance trial court efficiency

                     9     by avoiding unnecessary duplication of proceedings and effort.” National R.R. Passenger Corp. v.

                    10     Camargo Trucking, No. 1:12–cv–775-AWI–BAM, 2013 WL 101811, at *2 (E.D. Cal. Jan. 8, 2013)

                    11     (citation omitted) (“Consolidation of appropriate cases also guards against the risk of inconsistent

                    12     adjudications.”).

                    13              “The Supreme Court made clear in Hall v. Hall, 138 S. Ct. 1118 (2018), that the

                    14     consolidation of multiple cases under Rule 42(a) ‘mean[s] the joining together – but not the

                    15     complete merger – of constituent cases.’” Abbott Labs. v. Feinberg, No. 21-45, 2023 WL 19076,

                    16     at *1 (2d Cir. Jan. 3, 2023) (quoting Hall, 138 S. Ct. at 1125). The Supreme Court further clarified

                    17     that “multiple cases consolidated under [Rule 42(a)] retains its independent character, at least to

                    18     the extent it is appealable when finally resolved,” Hall, 138 S. Ct. at 1125, and “separate verdicts

                    19     and judgments are normally necessary”. Id. at 1130. “[M]erger is never so complete in

                    20     consolidation as to deprive any party of any substantial rights which he may have possessed had

                    21     the actions proceeded separately.” Id. (quoting 3 J. Moore & J. Friedman, Moore’s Federal Practice

                    22     § 42.01, pp. 3050–3051 (1938)). “The party moving for consolidation bears the burden of

                    23     demonstrating that consolidation is desirable.” Payne, 327 F.R.D. at 449 (citation omitted).

                    24     “Consolidation is a question of convenience and economy in judicial administration, and the court

                    25     is given broad discretion to decide whether consolidation under rule 42(a) would be desirable, and

                    26     the district judge's decision inevitably is highly contextual.” Payne, 327 F.R.D. at 450.

                    27              By analogy, the joint administration of the bankruptcy estates of multiple related debtors is

                    28     commonplace. See Fed. R. Bankr. P. 1015(b)(D) (“The court may order joint administration of the
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                             -7-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB             Document 53         Filed 12/10/24      Page 8 of 13


                     1     estates in a joint case or in two or more cases pending in the court if they are brought by or against

                     2     … a debtor and an affiliate”). The joint administration of multiple bankruptcy estates does not

                     3     change the substantive rights of the parties with respect to assets and liabilities. In contrast, the

                     4     equitable relief of substantive consolidation in bankruptcy, combines the assets and liabilities of

                     5     multiple debtor estates into one. A concurring opinion of the Ninth Circuit aptly explained the

                     6     distinction as follows:

                     7              Joint administration and substantive consolidation are both mechanisms to facilitate
                                    multi-debtor reorganizations. Joint administration is a tool of convenience; “[t]here
                     8              is no merging of assets and liabilities of the debtors,” and “[c]reditors of each debtor
                                    continue to look to that debtor for payment of their claims.” In re Parkway
                     9              Calabasas Ltd., 89 B.R. 832, 836 (Bankr. C.D. Cal. 1988). By contrast, substantive
                                    consolidation replaces “two or more debtors, each with its own estate and body of
                    10              creditors,” with “a single debtor, a single estate with a common fund of assets, and
                                    a single body of creditors.” Id. at 836–37; see also In re Bonham, 229 F.3d 750, 764
                    11              (9th Cir. 2000). Accordingly, “consolidation depends on substantive considerations
                                    and affects the substantive rights of the creditors of the different estates.” In re
                    12              Bonham, 229 F.3d at 762 (quoting Fed. R. Bankr. P. 1015 advisory committee's
                                    note). Here, the cases of the five Debtors were jointly administered pursuant to
                    13              Federal Rule of Bankruptcy Procedure 1015, but neither party moved for substantive
                                    consolidation.
                    14

                    15     Matter of Transwest Resort Properties, Inc., 881 F.3d 724, 731 (9th Cir. 2018) (concurrence).

                    16     The relief sought here is tantamount to joint administration, not substantive consolidation.

                    17              B.       Administrative Consolidation of the Receivership Cases is Proper.

                    18              Here, the Receivership Cases involve the same and similar questions of law. Each case

                    19     pleads the same causes of action, and seeks the same forms of relief and, materially, receivership.

                    20     And, although in the respective cases, the Plaintiffs Metropolitan Life Insurance Company, MetLife

                    21     Real Estate Lending, LLC, and Brighthouse Life Insurance Company and the collateral they seek

                    22     to maintain and administer are different (two of the several facts that militate against substantive

                    23     consolidation 5), the loan documents operate the same way, involve the same types of collateral

                    24     5
                              “Substantive consolidation” is known as an “extreme” remedy typically if not exclusively used
                    25     in Bankruptcy and/or other cases involving claims of “piercing the corporate veil.” See e.g., In re
                           Creditors Service Corp., 195 B.R. 680, 689 (S.D. Ohio 1996); In re SK Foods, LP, 499 B.R.809
                    26     (E.D. Cal. 2013). As described, the remedy involves the pooling of debtor assets in cases where,
                           among other things, one receivership puts a receiver in control of all of a debtor’s assets. In re SK
                    27     Foods, at p. 815. This is not a bankruptcy case, it does not involve claims of piercing. The
                           Defendants, to the extent a number of them may be affiliated, are known to have many assets that
                    28     may not serve as collateral on any loan, or that serves as collateral on a loan not at issue in the
                           Receivership Cases. The Receiver does not control all Defendant assets.
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                              -8-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB             Document 53        Filed 12/10/24      Page 9 of 13


                     1     administered by the same Receiver, and each individual Plaintiff-loan is overseen internally by the

                     2     same investment manager, MetLife Investment Management, LLC (“MIM”). Administrative

                     3     consolidation of the Receivership Cases, in the same fashion as the joint administration of affiliated

                     4     bankruptcy cases, is desirable.

                     5              Here, administrative consolidation will result in more convenience and economy in the

                     6     judicial administration of these related cases. (Christensen Decl. at ¶ 3). The context of these cases

                     7     demonstrates that while each action involves distinct receivership property, each of the actions will

                     8     require a significant amount of identical or substantially similar reporting and relief. (Id. at ¶ 4).

                     9     Additionally, the Receiver has been appointed in the Receivership Cases to administer the

                    10     Receivership Property in each respective case, and the Plaintiffs-lenders in each of the actions are

                    11     similarly aligned on the goals and efficient administration of the Receivership Cases. (Id. at ¶¶ 3-

                    12     5).

                    13              The Court should exercise its broad discretion in favor of administrative consolidation,

                    14     which would allow the Receiver to seek court approval as to actions of administration in multiple

                    15     receivership estates by filing a document in the Lead Case. This administrative consolidation is

                    16     convenient and in the best interests of judicial economy to allow the Receiver and Plaintiff to file

                    17     overlapping or identical requests on behalf of different receivership estates in only one case.

                    18              The balancing test for consolidation weighs in favor of granting this Motion because the

                    19     efficiency and economy of administrative consolidation outweighs any prejudice, delay, or

                    20     potential harm to parties caused by an order administratively consolidating the Receivership Cases.

                    21     Indeed, the parties in these cases have informed Plaintiff that they do not oppose the relief sought.

                    22     The Plaintiff and Receiver believe that administrative consolidation of the Receivership Cases is in

                    23     the best interests of the receivership estates and will lead to the most efficient administration of the

                    24     receivership property in each of the respective cases. (See id. at ¶ 6).

                    25     IV.      CONCLUSION

                    26              Plaintiff respectfully requests that the Court enter an Order approving this Motion. The

                    27     relief requested includes that:

                    28              1)       The “Lead Case” for administrative consolidation is Metropolitan Life Insurance
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                             -9-         CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB               Document 53          Filed 12/10/24    Page 10 of 13


                     1                       Company v. ACDF, LLC, et al., U.S. District Court, Eastern District of California,

                     2                       Case Number 1:24-cv-01261;

                     3              2)       The cases (“Receivership Cases”) for administrative consolidation into the Lead

                     4                       Case are Related Case Nos.: 1:24-cv-01226; 1:24-cv-01230; 1:24-cv-01231; 1:24-

                     5                       cv-01232; 1:24-cv-01233; 1:24-cv-01235; and 1:24-cv-01241;

                     6              3)       The approved caption that shall be used for any consolidated filing is attached

                     7                       hereto at Exhibit 1;

                     8              4)       Matters appropriate for consolidated filing in the Lead Case shall include filings

                     9                       and reports applicable to the receivership(s) and the continuation or scope thereof

                    10                       in the Lead Case and the Receivership Cases, including: requests to intervene by

                    11                       an interested party; motions and other filings relating to the continuation or scope

                    12                       of receivership by any Party, intervenor, or Receiver Phillip Christensen; filings of

                    13                       Receiver Phillip Christensen as made necessary or appropriate by any Order

                    14                       Appointing Receiver and for Preliminary Injunction; Party and intervenor Status

                    15                       Reports that are or may be required by the Court in advance of any Status

                    16                       Conference regarding receivership; requests by any Party or intervenor to appear

                    17                       via Zoom video teleconferencing or telephone as otherwise permitted by the Court;

                    18                       and, any other matters as ordered by the Court sua sponte or otherwise on

                    19                       regularly-noticed motion, unless on an ex parte basis only for good cause

                    20                       appearing;

                    21              5)       Matters not appropriate for consolidated filing without further order of the Court

                    22                       pursuant to paragraph 4, above, and which shall be filed in specific Receivership

                    23                       Cases include:

                    24                       a.        Pleadings, motions, amended pleadings pursuant to Fed. Rule Civ. Proc.,

                    25                                 Rules 1 through 25;

                    26                       b.        Discovery and discovery related motions pursuant to Fed. Rule Civ. Proc.,

                    27                                 Rules 26 through 37;

                    28                       c.        Any filings not limited to motions relating to the pleadings pursuant to Fed.
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                                -10-        CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
                         Case 1:24-cv-01261-KES-SAB               Document 53         Filed 12/10/24    Page 11 of 13


                     1                                 Rule Civ. Proc., Rules 38 through 63;

                     2                       d.        Any judgment, post-judgment or remedial filings pursuant to Fed. Rule

                     3                                 Civ. Proc., Rules 64 through 71.

                     4              6)       A consolidated service list shall be created by Plaintiff for the jointly administered,

                     5                       consolidated cases and shall be used with any consolidated filing;

                     6              7)       The consolidated service list shall be filed by Plaintiff in the Lead Case no later

                     7                       than 24 hours following the entry of this Order; and

                     8              8)       Plaintiff shall serve the Order within 48 hours of its entry on any Parties in the

                     9                       Receivership Cases who have not appeared by the time this Order is entered.

                    10              Finally, Plaintiff requests that the Order be said to be interpreted solely for purposes of

                    11     administrative efficiency (see Hall, supra, at 1130), and shall not change or otherwise prejudice the

                    12     substantive rights of any Party to any of the Receivership Cases. Without limiting the generality

                    13     of the foregoing, the Court rules that this Order does not consolidate or otherwise change the

                    14     separateness of any assets or liabilities of any party, or of the Receivership estates identified in the

                    15     Receivership Cases.

                    16

                    17
                           DATED: December 10, 2024                               STOEL RIVES LLP
                    18

                    19
                                                                                  By:    /s/ Thomas A. Woods
                    20                                                            MICHAEL B. BROWN, Bar No. 179222
                                                                                  michael.brown@stoel.com
                    21                                                            THOMAS A. WOODS, Bar No. 210050
                                                                                  thomas.woods@stoel.com
                    22                                                            BENJAMIN J. CODOG, Bar No. 307034
                                                                                  ben.codog@stoel.com
                    23                                                            MICHELLE J. ROSALES, Bar No. 343519
                                                                                  michelle.rosales@stoel.com
                    24
                                                                                  Attorneys for Plaintiff
                    25                                                            METROPOLITAN LIFE INSURANCE
                                                                                  COMPANY
                    26

                    27

                    28
STOEL RIVES LLP
                           MOTION TO CONSOLIDATE FOR
 ATTORNEYS AT LAW
                                                                               -11-        CASE NO. 1:24-CV-01261-KES-SAB
   SACRAMENTO
                           ADMINISTRATIVE PURPOSES; MPAs
                           127186612.1 0053564-00653
Case 1:24-cv-01261-KES-SAB   Document 53   Filed 12/10/24   Page 12 of 13




               EXHIBIT 1
     Case 1:24-cv-01261-KES-SAB         Document 53          Filed 12/10/24   Page 13 of 13


 1

 2

 3

 4

 5

 6

 7                                   UNITED STATES DISTRICT COURT
 8                     EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
 9

10       METROPOLITAN LIFE INSURANCE                           Lead Case No. 1:24-cv-01261-KES-SAB
         COMPANY, a New York corporation,
11                                                             Consolidated with Case Nos:
                        Plaintiff,                             1:24-cv-01226; 1:24-cv-01230;
12       vs.                                                   1:24-cv-01231; 1:24-cv-01232;
                                                               1:24-cv-01233; 1:24-cv-01235; and
13       ACDF, LLC, a California limited liability             1:24-cv-01241
         company, et al.,
14
                     Defendants.                               [TITLE]
15       _____________________________________

16               Affects All Cases
                 Affects Metropolitan Life Ins. Co. v.         Hearing:
17               ACDF, LLC, et al., 1:24-cv-01261              Date:
                 Affects Metropolitan Life Ins. Co. v. FNF     Time:
18               Farms, LLC, et al., 1:24-cv-01226             Place: Robert E. Coyle U.S. Courthouse
                 Affects Metropolitan Life Ins. Co. v. C &            2500 Tulare Street
19               A Farms, LLC, et al., 1:24-cv-01230                  Courtroom 6, 7th Floor
                 Affects Metropolitan Life Ins. Co. v.                Fresno, CA 93721
20               Maricopa Orchards, LLC, et al., 1:24-cv-
                 01231
21               Affects Brighthouse Life Ins. Co. v.
                 Kamm South, LLC, et al., 1:24-cv-01232
22               Affects Brighthouse Life Ins. Co. v.
                 Manning Avenue Pistachios, LLC, et al.,
23               1:24-cv-01233 Case No. 1:24-cv-01233
                 Affects Brighthouse Life Ins. Co. v.
24               ACDF, LLC, et al., 1:24-cv-01235
                 Affects MetLife Real Estate Lending,
25               LLC v. Panoche Pistachios, LLC, et al.,
                 1:24-cv-01241
26

27

28
       [TITLE]                                       -1-          CASE NO. 1:24-CV-01261- KES-SAB
